














&nbsp;

&nbsp;

COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

&nbsp;

NO. 02-11-00448-CV

&nbsp;

&nbsp;


 
  
  Javier
  Davila
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  The
  State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From Criminal District
  Court No. 4
  &nbsp;
  of
  Tarrant County (1245988W)
  &nbsp;
  November
  15, 2012
  &nbsp;
  Per
  Curiam
  
 


&nbsp;

&nbsp;

JUDGMENT

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
court has considered the record on appeal in this case and holds that the
appeal should be dismissed.&nbsp; It is ordered that the appeal is dismissed for
want of jurisdiction.

&nbsp;

SECOND DISTRICT COURT OF APPEALS 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;






&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

&nbsp;

NO. 02-11-00446-CV

NO. 02-11-00447-CV

NO. 02-11-00448-CV

NO. 02-11-00449-CV

NO. 02-11-00450-CV

NO. 02-11-00451-CV

NO. 02-11-00452-CV

&nbsp;

&nbsp;


 
  
  Javier Davila
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  APPELLEE
  
 


&nbsp;

&nbsp;

----------

FROM Criminal
District Court No. 4 OF Tarrant COUNTY

----------

MEMORANDUM
OPINION[1]

----------

On October
21, 2011, appellant Javier Davila filed a notice of appeal challenging the
trial court’s orders to withdraw funds from his inmate trust account in seven
separate trial court cause numbers. &nbsp;Because we were unable to determine
whether appellant’s rights to due process had been satisfied based on the
record before us, we abated the appeals on November 15, 2011 for 180 days so
that appellant could obtain appealable orders from the trial court. &nbsp;See,
e.g., Palomo v. State, 322 S.W.3d 304, 307–08 (Tex. App.––Amarillo
2010, order) (abating appeal to allow appellant time to file an appropriate
motion to modify, correct, or rescind the withdrawal notification and obtain a
final, appealable order addressing that motion), disp. on merits, 330
S.W.3d 920 (Tex. App.––Amarillo 2010, no pet.); see also Tex. R. App. P.
27.2.

On June
13, 2012, we sent appellant a letter informing him that the appeals had been
reinstated but that the trial court had not rendered any appealable orders. &nbsp;We
told appellant that if we did not receive any written, appealable orders or a
response indicating that appellant would obtain such orders on or before June
25, 2012, the appeals would be dismissed for want of jurisdiction.&nbsp; We have
received no response, and no appealable orders have been rendered in the trial
court.

Because there are no appealable orders for
this court to review, we dismiss the appeals for want of jurisdiction. &nbsp;See
Tex. R. App. P. 42.3(a), 43.2(f); Davis v. State, No. 02-11-00016-CV,
2011 WL 5247505, at *1 (Tex. App.––Fort Worth Nov. 3, 2011, no pet.) (mem. op.).

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp; LIVINGSTON, C.J.; DAUPHINOT and GARDNER, JJ.

&nbsp;

DELIVERED:&nbsp;
November 15, 2012








&nbsp;









[1]See Tex. R. App. P. 47.4.







